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                EXHIBIT B: DECLARATION OF ANJNA R. KAPOOR

        1, Anjna R. Kapoor, hereby certify as follows:

        1.      I am an associate of the firm of Kelley Drye & Warren LLP, which is located at

101 Park Avenue, New York, New York 10178.

        2.      1 have been admitted to practice before the following United States District Court

on the date indicated:

                                                                          DATE ADMITTED

United States District Court for the Southern District of New York             04/06/2004



        3.      1 am an attorney in good standing and eligible to practice in the above-referenced

jurisdiction.

        4.      1 have not been suspended or disbarred in any jurisdiction , and no disciplinary

actions are pending against me.

        5.      A certificate of good standing for the United States District Court for the Southern

District of New York is attached hereto.

        6.      1 am familiar with the Local Rules of the United States District Court for the

District of Massachusetts and agree to abide by them.

        1 declare under penalty of perjury , pursuant to 28 U.S.C. § 1746 , that the foregoing is true

and correct. Executed on March 9, 2010.




                                                     Anjna R. Kapoor
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CSDNY (1 5199) CmiticateofGood Standing




                           United States District Court
                                           Southern District of New York

                                                                              Certificate of
                                                                              Good Standing

I, J. Michael McMahon Clerk of this Court, certify that



                          ANJNA R. KAPOOR                                , Bar #   AK3024




                  was duly admitted to practice in this Court on



        APRIL 6th, 2004                      , and is in good standing



                                          as a member of the Bar of this Court.




                  500 Pearl Street
Dated at          New York New York                      on          MARCH 9th, 2010




              J. Michael McMahon                         by
                            Clerk                                  f /Deputy Clerk
